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| «DEPARTMENT OF CORRECTIONS COORDINATOR .

DOC | INMATE INFORMAL RESOLUTION — || IGP NUMBER:

THE DEPARTMENT

Greonmecmene | COMPLAINT FORM t_ 20390330 -S2hb

STEP 1: INFORMAL RESOLUTION (To be completed by Inmate)
* — Inmate has five (5) days after triggering incident to submit request.
* Place this form in the housing unit JGP box. The JGP coordinator will respond within seven (7) business days.

INMATE NAME: DCDC#:

DATE:

Ayan Nichols 376745 CLR 3/24/22

SELECT DEPARTMENT/SERVICES NEEDED:

o Facility Transfer

© Property © Facilities
o Fire Safety and Sanitation /Risk Management o Sentence computation, jail credit, over detention Management
© Program and Activities © Finance © Discrimination
o Personal Hygiene , © Rules and Regulations © Transportation
o Case Management Services o StaffTreatment o Safety and
ealth Care ‘ © Food Service Security
o Communications (mail, Visits, telephone, legal) © Religious Services of Other
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=. STEP 2: FORMAL GRIEVANCE (To be completed by Inmate) ’
= * Inmate has five (5) days after receiving response to Informal Resolution to submit Formal Grievance form.
+ * — Place this form in the housing unit {GP box. The IGP coordinator will respond within fifteen (15) business days.
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% | INMATE NAME: DCDC#: UNIT: DATE:
o- Ayan Aliclaats 376748 C28 4/13/22.
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ee © Fire Safety and Sanitation Risk Management © Sentence computation, jail credit, over detention Management
© Program and Activities o Pinance © Discrimination
LAV] 6 Personal Hygiene © Rules and Regulations o Transportation
o Management Services © Staff Treatment o Safety and Security
ne ealth Care : o Food Service other
o Communications (mail, visits, telephone, © Religious Services

foe INMATE: Has this issue been resolved? YES Chor NOL If 00, check the “NO” box end place this form in the housing unit 1GP]
ox with ¢ copy of the INFORMAL RESOLUTION FORM WITH RESPONSE

REASON NOT RESOLVED: Zh fe sponse. +o Tnformal Géiewance te 2022-0330- 526+
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Gl | DEPARTMENT OF CORRECTIONS ne

5 IGP NUMBER:
D oO c WARDEN’S ADMINISTRATIVE

wesceranrwenr | REMEDY FORM t 2LOLL0Y ab - GG/ |
STEP 3: REQUEST FOR WARDEN’S ADMINISTRATIVE REMEDY

Inmate has five (5) days from receipt of Formal Grievance response to submit request.

Place this form in the housing unit IGP box. The Warden will issue a response to,the grievance within fifteen (15)
business days of receipt.

* Ifthe issue has not been resolved, inmate has five (5) business days from receipt of response from the Warden to
submit an Appeal - Deputy Direc

tor Form with ALL prior responses attached and placed in the IGP Box.

INMATE NAME: DCDC#: UNIT: DATE: |
Ayan NidwlS 3767s ee 4/2 |/22.

REASON FOR APPEAL: En fesonse, to GP (formal) 20220420 - 924 L
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WARDEN SIGNATURE: DATE:

INMATE GRIEVANCE COORDINATOR SIGNATURE: f= DATE: 6/9 Tie 2.
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STEP AL ~DEPUTY DIRECTOR |

‘s “Inmate has five (5) days from receipt of Wardens Administrative Remedy response to submit request.
* Place this form in the housing unit IGP box. The respective Deputy Director will respond within twenty-one
(21) business days of receipt.

SECTION A: To be completed by Inmate (Only)

INMATE NAME: DCDC#: UNIT: DATE:

Ayan NwholS SH4S CZB S/is/2z2

REASON FOR APPEAL: En__Keynse ty Wards CGP wettr_on 4/z)
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INMATE SIGNATURE: > _ pate: $/(5/2z

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SECTION B: To be completed nly)
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DEPUTY DIRECTOR RESPONSE:

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AREA:
DEPUTY DIRECTOR SIGNATURE: Ty DATE: 5 | 23 i per

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Oreonnections | COMPLAINT FORM #

| STEP 1: INFORMAL RESOLUTION (To be completed by Inmate)
« Inmate has five (5) days after triggering incident to submit request.
= Place this form in the housing unit IGP box. The IGP coordinator will respond within seven

o Fire Safety and Sanitation /Risk Management
o Program and Activities

o Personal Hygiene

o Case Management Services

o Health Care

o Communications (mail, visits, telephone, legal)

o Sentence computation, jail credit, over detention
o Finance

o Rules and Regulations

eo” Staff Treatment

o Food Service

o Religious Services

INMATE NAME: DCDC#: UNIT: DATE
Ky an Nichols 376145 CZB | 5/24/22
SELECT DEPARTMENT/SERVICES NEEDED:
o Facility Transfer o Property 1 Facilities

Management
o Discrimination
o Transportation
o Safety and

Security
o Other

DATE OF INCENT:_5/24/22.
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TIME OF INCIDENT: Eveang M ai\ OFFENDER: TJ. Cambell

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Case 1:21-cr-00117-RCL Document 303-7 Filed 04/29/24 Page 6of10

Informal Resolution Response
Ryan Nichols ID #: 3767$95
IGP#: 20220527-624

After reviewing and investigating Mr. Ryan Nichols Informal Grievance regarding the IGP
Coordinator T. Campbell, it was determined that there was no IGP that could be found on file
where Ms. Campbell had marked though the Step 4 of The Deputy Director’s Appeal and labeled
this document as Step 1.

If you, Mr. Nichols have a copy of the specific document in your possession that you are
referencing, please provide a copy of that IGP document to allow further investigation into this
matter.

Based upon this information, there is no evidence that supports that T. Campbell intentionally or
maliciously sabotaged your IGP to going to a Deputy Director’s Ste 4 Appeal.
Case 1:21-cr-00117-RCL

Document 303-7

Filed 04/29/24

Page 7 of 10

PP 4030.1

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WN | DEPARTMENT OF CORRECTIONS COORDINATOR
DOC | INMATE INFORMAL RESOLUTION | | GP NUMBER:
OF CORRECTIONS COMPLAINT FORM #

STEP 1; INFORMAL RESOLUTION

(To be completed by Inmate
= Inmate has five (5) days after triggering incident to submit request.
Place this form in the housing unit IGP box. The IGP coordinator will respond within seven (7) business days.

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INMATE NAME; DCDC#: UNIT: DATE:
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| SELECTDEPARTMENT/SERVICES NEEDED: oA f\
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° = Safety and Sanitation /Risk Management o Sentence computation, jail credit, over detention Management
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© Personal Hygiene © Rules and Regulations o___ Transportation
° an Management Services fo” Staff Treatment eSafety and F
th Care - ae © Food Service ecurity
© Communications (mail, Visits, telephone, legal) © Religious Services , & Other.

OFFENDER: [| 7 Allis

DATE OF INCIDENT:_ 5/5/22. TIME OF INCIDENT: Ye (i
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DEPARTMENT: MANAGER NAME: MANAGER SIGNATURE:
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STEP 1; INFORMAL RESOLUTION (To be completed by Inmate)
* — Inmate has five (5) days after triggering incident to submit request.

Place this form in the housing unit IGP box. The IGP coordinator will respond within seven (7) business days,

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SELECT DEPARTMENT/SERVICES NEEDED: su <fs
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o Fire Safety and Sanitation /Risk Management o Sentence computation, jail credit, over detention Management
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DATE OF INCIDENT: 5/8/22. TIME OF INCIDENT: Evering OFFENDER: LT Alla
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STEP 2: FORMAL GRIEVANCE (To be completed by Inmate)
= Inmate has five (5) days after receiving response to Informal Resolution to submit Formal Grievance form.
* Place this form in the housing unit IGP box. The IGP coordinator will respond within fifteen (15) business days.
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SELECT DEPARTMENT/SERVICES:
o Facility Transfer ©. Property o Facilities
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© Program and Activities o Finance o Discrimination
o Personal Hygiene o Rules and Regulatio: o Transportation
one Services ions ‘Treatment i eset and Security =
© Food Service Other ~
o Communications (mail, visits, telephone, o Religious Services

REASON NOT RESOLVED: —- +1

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DEPARTMENT: MANAGER NAME: MANAGER SIGNATURE: a

INMATE GRIEVANCE COORDINATOR SIGNATURE: » DATE: Cus tots

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THE DEPARTMENT FORM #

OF CORRECTIONS

STEP 4: APPEAL - DEPUTY DIRECTOR

"Inmate has five (5) days from receipt of Wardens Administrative Remedy response to submit request.

* Place this form in the housing unit IGP box. The respective Deputy Director will respond within twenty-one
(21) business days of receipt.

SECTION A: To be completed by Inmate (Only)

INMATE NAME: DCDCz#: UNIT: DATE:

Ayan MicholS — 3764S C2B  S/is/eo
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DEPUTY DIRECTOR RESPONSE:

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DEPUTY DIRECTOR SIGNATURE: DATE:

THIS IS THE FINAL LEVEL OF REVIEW IN THE DC DEPARTMENT OF CORRECTIONS.

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